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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)

                                                             Ref. No. 505


                 NOTICE OF THE PROPOSED EXPANSION OF SERVICES
              TO BE PROVIDED BY ERNST & YOUNG LLP TO THE DEBTORS

                  PLEASE TAKE NOTICE that on January 17, 2023, the Court entered an order

[D.I. 505] (the “EY Retention Order”), 2 authorizing, among other things, FTX Trading Ltd. and

its affiliated debtors and debtors-in-possession (collectively, the “Debtors”) to retain and employ

Ernst & Young LLP (“EY LLP”) as tax service providers.

                  PLEASE TAKE FURTHER NOTICE that on February 7, 2023, the Debtors

and EY LLP entered into an amendment to the Engagement Letters, pursuant to which EY LLP

would assist the Debtors with, among other things, their global bookkeeping and their global

payroll services, and an additional statement of work, pursuant to which EY LLP would provide

the Debtors with, among other things, advisory services related to certain global liquidation

activities.

                  PLEASE TAKE FURTHER NOTICE that on July 21, 2023, the Debtors and



1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the EY
    Retention Order.

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EY LLP entered into a further additional statement of work, a copy of which is attached hereto as

Exhibit A (the “SOW”). Pursuant to the SOW, EY LLP will, among other things, provide the

Debtors with, among other things, advisory services related to certain tax filings, reporting and

compliance. The SOW services will be provided in accordance with the rates set forth in the

SOW.

                  PLEASE TAKE FURTHER NOTICE that in accordance with paragraph 12 of

the EY Retention Order, the Debtors hereby provide notice of the Debtors’ entry into the SOW.

Pursuant to paragraph 12 of the EY Retention Order, any party wishing to object to the Debtors’

entry into the SOW and EY LLP’s expansion of scope of services must file with the Bankruptcy

Court, and serve on counsel for the Debtors, an objection on or before August 25, 2023 at 4:00

p.m. (ET) (the “Objection Deadline”).

                  PLEASE TAKE FURTHER NOTICE that if no objections are filed and served

by the Objection Deadline, the SOW and EY LLP’s expansion of scope of services thereunder

shall be deemed approved pursuant to the EY Retention Order, and shall be subject to all terms

of the EY Retention Order.

                  PLEASE TAKE FURTHER NOTICE that if an objection is timely filed and

served by the Objection Deadline and not subsequently resolved by the applicable parties, the

Debtors shall schedule a hearing with respect to the SOW and EY LLP’s expansion of scope of

services.

                  PLEASE TAKE FURTHER NOTICE that copies of this notice and the EY

Retention Order may be obtained from the Court’s website, https://www.deb.uscourts.gov/, for a

nominal fee, or obtained free of charge by accessing the website of the Debtors’ claims and

noticing agent, https://restructuring.ra.kroll.com/FTX.



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